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     Integrity Practice Solutions, LLC;
     Integrity Medical Systems, LLC; and Chintan Trivedi

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


      SALERNO MEDICAL ASSOCIATES, LLP,
                                                         Civil Action No. 2:20-cv-7076
                                   Plaintiffs,
             v.
                                                         NOTICE OF APPEARANCE
      INTEGRITY PRACTICE SOLUTIONS, LLC;
      INTEGRITY MEDICAL SYSTEMS, LLC;
      CHINTAN TRIVEDI; JOHN DOES 1-10; and
      ABC CORPORATIONS 1-10,

                                   Defendants.


            I, Jason N. Silberberg, of Frier & Levitt, LLC, do hereby enter an appearance on behalf of

     Defendants, INTEGRITY PRACTICE SOLUTIONS, LLC, INTEGRITY MEDICAL SYSTEMS,

     LLC and CHINTAN TRIVEDI, in the above-captioned lawsuit.


                                                 FRIER & LEVITT, LLC
                                                 Attorneys for Defendants
                                                 Integrity Practice Solutions, LLC;
                                                 Integrity Medical Systems, LLC; and Chintan
                                                 Trivedi

                                                 By:_s/ Jason N. Silberberg
                                                 Jason N. Silberberg, Esq. (JNS6611)

     Dated: June 17, 2020




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